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Case 1-20-cr-00661-CM-1   Document 37 Filed in NYSD  06/09/2022 flage 1 of 2          t
   SPODEK                         [ USDC SDNY                                   i \'
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   GROUPP.c.                       \:DOC#:                                7-z_.           '
                                                                                              , Todd A. Spodek, Esq.
                                                                                                Direct Dial: (347) 292-8633
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June 9, 2022
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Hon. Colleen McMahon
Daniel Patrick Moynihan                       -f¾~ °'-:OW\ .ii:- 6l~ ~~' "~ Y-4-'[ v ( f"-h I"'-~ .d._
United States Courthouse                        { ~ 4--o, ~ z.. v~[vt"<-.-«;d. ~ ~ -f-t, A- ~fz,1,';._Sdk.ll't'h~
500 Pearl Street                                                 4-o b~ < $-+- ~'1 f,ro~~ai.. P-zpt-,
New York, NY 10007                                @ ✓ v{-.fi:           .,     1,1 1AA ./
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             RE: Unrted States v. Amir Bruno Elmaani
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                        Case No.: 1:20-cr-00661-1 (CM)
                        First Request for Modification of Release Conditions
                                                                                          I
Dear Judge McMahon:                                                               ·       I
       Please be advised that Spodek Law Group P.C.: ,~~resents Amir l;!runo
Elmaani, the Defendant in the above-referenced matter: Mr. Elmaani resp~ctfully
requests a modification of his release conditions to remoJe home detention and
location monitoring.

      On March 18, 2021, Your Honor granted                                                   osal of Mr. Elmaani's
release conditions:
                                                                                  ,                                      I
   o   A personal recognizance bond of $1,000,000, to be cos gned by twq financially
       responsible persons, and to be secured by the fol/o ing property: (i) 1792
                                                                1
       Needy Road, Martinsburg, West Virginia (the "West Vitgi ia Home"), and (ii) 336
       Switch Road, Hope Valley, Rhode Island (the "Rhode Isl nd Home");            '
   o   Pretrial Services supervision as directed;
   o   Home detention with location monitoring, at the West Vir inia Home;
   o   Inspection and approval of the West Virginia Home by retrial Services, before
       the defendant's release;
   o   Surrender all travel documents and make no new applica ions;
   o   Attend mental health treatment as directed by Pretrial Services;
   o   Refrain from possession of a firearm, destructive devi' e or other dangerous
       weapon;
   o   Surrender all firearms and permits and provide written ve ification of the same to
       Pretrial Services;                                                            ·
   o   Refrain from soliciting or engaging in investment, p~r hase, or exchange of
                                                                                   '                                         ;
 85 Broad Street, 17th Floor, NY, NY 100041 T: (212) 300-5196   I   F: (212) 300-6371         I info@spodeklawgroup.com
           Case 1:20-cr-00661-CM Document 40 Filed 06/14/22 Page 2 of 2
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                                                                      page 2 of 2

 Hon. Colleen McMahon, District Court Judge
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       cryptocurrencies or tokens; and
    o Travel restricted to the Southern and Eastern Distri ts of New York                              and the
       Northern District of West Virginia, as well as the Distrilcts necessary to                      travel in
       between those Districts.                                   "                                    ·
 (ECF No.: 9).                                               '                                         ,

        Pretrial Services advises that Mr. Elmaani, who is being supervised in the
 Northern District of West Virginia, has been in compliance ith all release conditions
 since his release in March of 2021. Pretrial's initial recomr:n ndation, in this case, did
 not include any form of location monitoring.

      I have conferenced the case with Pretrial Officer Joshu Rothman who consents
 to a modification from home detention to a curfew, or to remove the location
 monitoring conditions altogether.

                                                                         '
      I also conferenced Mr. Elmaani's request with AUSA· argaret Graham and the
 Government defers to the recommendation of Pretrial Servi cei.
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        Thank you for your consideration.

                                               Sincerely,

                                       Spodek Law Group P.C.
                                         ISi Todd A. Spodek

TSlaz
cc:   All Counsel (By ECF).




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 85 Broad Street, 17th Floor, NY, NY 100041 T: (212) 300-51961 F: (212) 300-~371    I info@spodeklawgroup.com
